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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : MAGISTRATE NO. 21-MJ-13 (GMH)
                                            :
RICHARD BARNETT,                            :
     Defendant.                             :


                                    TRANSPORT ORDER

       Having considered the United States’ Motion to have the defendant Richard Barnett

transported from the Western District of Arkansas to the District of Columbia for further

proceedings on the Complaint filed against him, it is hereby ORDERED

       That the United States Marshals Service transport the defendant forthwith from the

Western District of Arkansas to the District of Columbia for further proceedings in this matter.




       DATE:     January 15, 2021

                                            BERYL A. HOWELL
                                            CHIEF JUDGE, UNITED STATES DISTRICT
                                            COURT FOR THE DISTRICT OF COLUMBIA




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